Case 14-31229-sgj15   Doc 188-7 Filed 10/25/18 Entered 10/26/18 15:05:18   Desc
                              Exhibit Page 1 of 2
Case 14-31229-sgj15           Doc 188-7 Filed 10/25/18 Entered 10/26/18 15:05:18                        Desc
                                      Exhibit Page 2 of 2
Reference Purpose Only

                                                 [Translation]

2017 (sai) No. 35, In Matter of Petition for Commencement of Rehabilitation Proceedings

                                                 DECISION
                      Rehabilitation Debtor: MtGox Co., Ltd.

                      Shibuya 2-11-5, Shibuya-ku, Tokyo




                                              JUDGMENT
The following amendment is made as an addition to the examination order issued on November 24, 2017, by
the court:

4.    The examiner shall examine the suitability of the rehabilitation plan proposal and, by the separately
      stipulated date, submit the result of the examination and its opinion thereto.

5.    If the trustee applies for permission regarding a matter for which the court’s permission is necessary
      under the Civil Rehabilitation Act, the Rules of Civil Rehabilitation, or paragraph 5 of the judgment of
      the commencement order and an opinion is requested by the court, then the examiner shall state its
      opinion about the permission.

6.    Other than those stipulated in paragraphs 4 and 5 above, the examiner shall promptly submit the result
      of the examination and its opinion regarding matters that the court has stipulated as matters for which
      an examination, or the stating of an opinion, by the examiner is necessary in relation to the civil
      rehabilitation case.



            June 22, 2018

                  20th Civil Division of the Tokyo District Court

                            Chief Justice Norio Nagaya

                            Justice Daisaku Ueharai

                            Justice Naoya Sano




      This is the original.
             June 22, 2018
                   20th Civil Division of the Tokyo District Court
                           Court Clerk Katsuyuki Hayashi [sealed]
